Name, Case
      Address2:19-cv-01005-AB-KS         Document
              and Telephone Number of Attorney(s):          86 Filed 12/16/19 Page 1 of 1 Page ID #:1389
                                                                                                             CLEAR FORM




                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER
Doe
                                                                               2:19-cv-1005-AB-KS
                                                Plaintiff(s)
                                v.

California Institute of Technology
                                                                               MEDIATION REPORT

                                                Defendant(s).
Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation session even
if the negotiations continue. If the case later settles with the assistance of the mediator, the mediator must file
a subsequent Report.
1.       ✔   A mediation was held on (date): December 5, 2019                   .
             A mediation did not take place because the case settled before the session occurred.
2.      The individual parties and their respective trial counsel, designated corporate representatives, and/or
        representatives of the party's insurer:
                    Appeared as required by L.R. 16-15.5(b).
                ✔   Did not appear as required by L.R. 16-15.5(b).
                                 Plaintiff or plaintiff's representative failed to appear.
                                 Defendant or defendant's representative failed to appear.
                            ✔    Other:
3.      Did the case settle?
                    Yes, fully, on                                (date).
                    Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
                    Yes, partially, and further facilitated discussions are not expected.
                    No, and further facilitated discussions are expected. (See No. 4 below.)
                ✔   No, and further facilitated discussions are not expected.
4.      If further facilitated discussions are expected, by what date will you check in with the parties?
       I hope that we can get this case settled. The parties were available by phone and Skype but Jane
       Doe, who was in Europe, and the Dean were not physically present. I think it would be helpful for
       Jane Doe to appear in person at another mediation, after the Motion to Dismiss hearing in January.
       Defendant Dean's presence was not an issue because Legal Counsel for CalTech, Tina Tran, was
Dated: December
       there and she was the decision maker. personal attendance.
                  6, 2019                                                     Stacie Hausner
                                                                         Signature of Mediator
The Mediator must electronically file original document in CM/                    Stacie Hausner
ECF using one of four choices under "Civil => Other Filings =>                 Name of Mediator (print)
ADR/Mediation Documents => Mediation Report (ADR-3)."

ADR-03 (10/19)                                         MEDIATION REPORT                                     Page 1 of 1
